         Case 1:03-cr-05165-LJO Document 497 Filed 06/05/08 Page 1 of 1


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6                   IN THE UNITED STATES DISTRICT COURT FOR THE

7                             EASTERN DISTRICT OF CALIFORNIA

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9    JUAN REFUGIO SANCHEZ,                )       No. CV-F-07-039 OWW
                                          )       (No. CR-F-03-5165 OWW)
10                                        )
                                          )       MEMORANDUM DECISION AND
11                       Petitioner,      )       ORDER DISMISSING
                                          )       PETITIONER'S MOTION PURSUANT
12                vs.                     )       TO 28 U.S.C. § 2255 AS MOOT
                                          )       (Doc. 470)
13                                        )
     UNITED STATES OF AMERICA,            )
14                                        )
                                          )
15                       Respondent.      )
                                          )
16                                        )

17          On January 8, 2007, Petitioner filed a motion to vacate, set

18   aside or correct sentence pursuant to 28 U.S.C. § 2255.

19          Petitioner’s motion raises a claim for relief asserted in

20   and resolved by Memorandum Decision and Order signed on June 2,

21   2008 in Juan Refugio Sanchez v. United States, No. CV-F-05-346

22   OWW.     Consequently, this action is DISMISSED AS MOOT.

23          IT IS SO ORDERED.

24   Dated:    June 2, 2008                   /s/ Oliver W. Wanger
     668554                              UNITED STATES DISTRICT JUDGE
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